
327 So.2d 844 (1976)
FLORIDA DEPARTMENT OF HEALTH AND REHABILITATIVE SERVICES, DIVISION OF YOUTH SERVICES, BUREAU OF FIELD SERVICES, Appellant,
v.
In the Interest of R.M.A., a Minor, and C.B.A., a Minor, Appellees.
No. X-83.
District Court of Appeal of Florida, First District.
February 27, 1976.
Mary Clark, Tallahassee, for appellant.
William Randall Slaughter, II, Live Oak, for appellees.
MILLS, Judge.
The Division of Youth Services appeals from an order awarding an attorney a fee for services rendered as guardian ad litem for two minors at a detention hearing, and directing the Division to pay the fee. The issues are whether the court had authority to direct the Division to pay the fee, and whether the court erred in entering the order where the Division was not served with nor given an opportunity to be heard on the motion for a fee. The court erred in both instances.
The record shows that the guardian ad litem did not serve a copy of his motion on the Division, and that the court entered its order without notice to the Division. This is a total lack of due process.
There is neither statutory authority for the award of a fee to a guardian ad litem in a juvenile proceeding such as the one here nor authority for the court to direct the Division to pay the fee.
We reverse the order.
RAWLS, Acting Chief Judge and SMITH, J., concur.
